  Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 1 of 11




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


STATE OF SOUTH CAROLINA,

               Plaintiff,

       v.

UNITED STATES OF AMERICA, and ERIC                         Civil Action No. 1:12-CV-203
HIMPTON HOLDER, JR., in his official                       (CKK-BMK-JDB)
capacity as Attorney General of the United                 Three Judge Court
States,

               Defendants,

JAMES DUBOSE, et al.,

               Defendant-Intervenors.




    MEMORANDUM IN OPPOSITION TO THE STATE OF SOUTH CAROLINA’S
    MOTION TO EXCLUDE THE TESTIMONY OF DR. THEODORE ARRINGTON

       Defendants the United States of America and Eric H. Holder, Jr. (collectively “the United

States”) respectfully oppose Plaintiff the State of South Carolina’s motion to exclude the expert

testimony of Dr. Theodore Arrington (ECF No. 165). Dr. Arrington’s proposed testimony easily

satisfies the standard for the admissibility of expert testimony, as set out in Federal Rule of

Evidence 702. Dr. Arrington has been qualified as an expert witness concerning challenged

voting practices in numerous cases. Earlier this year this Court rejected a nearly identical

challenge to expert testimony Dr. Arrington offered concerning legislative purpose, finding that

the motion “reflect[ed] a stingy reading of the Federal Rules of Evidence and the testimony [Dr.

Arrington] intend[ed] to offer.” Trial Tr. at 6, Texas v. United States, No. 11-cv-1303 (D.D.C.
     Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 2 of 11




Jan. 17, 2012 a.m.) (Ex. 1) [hereinafter Texas Tr.]1. South Carolina’s motion should fare no

better, as it grossly mischaracterizes Dr. Arrington’s testimony and misapprehends the nature of

the purpose inquiry under Section 5 of the Voting Rights Act and the qualitative methods

employed by historians and political scientists. Dr. Arrington’s opinions are anchored to and

drawn from the legislative record, well-established social science literature, reliable demographic

data, and his vast experience as an election official. South Carolina’s cavils go to the weight of

Dr. Arrington’s testimony, and not its admissibility.

I.      THERE IS A STRONG PRESUMPTION OF ADMISSABILITY FOR EXPERT
        TESTIMONY IN A BENCH TRIAL.

        Under Federal Rule of Evidence 702, a witness may provide expert opinion testimony if

he is “qualified as an expert by knowledge, skill, experience, training, or education,” Fed. R.

Evid. 702, and if his testimony is “relevant and reliable.” Kumho Tire Co., Ltd. v. Carmichael,

526 U.S. 137, 141 (1999). “The presumption under the Federal Rules is that expert testimony is

admissible.” Evans v. Wash. Metro. Area Transit Auth., 674 F. Supp. 2d 175, 178 (D.D.C. 2009).

To assess admissibility, district courts “assume[] only a ‘limited gatekeep[ing] role’ directed at

excluding expert testimony that is based upon ‘subjective belief’ or ‘unsupported speculation.’”

Harris v. Koenig, 815 F. Supp. 2d 6, 8 (D.D.C. 2011) (quoting Ambrosini v. Labarraque, 101

F.3d 129, 135-36 (D.C. Cir. 1996)). District courts have broad discretion to admit expert

testimony, see United States ex rel. Miller v. Bill Harbert Int’l Constr. Inc., 608 F.3d 871, 895

(D.C. Cir. 2010), particularly in a bench trial, where “there is no risk of tainting the trial by

exposing a jury to unreliable evidence.’” United States v. H&R Block, Inc., 831 F. Supp. 2d. 27,

30 (D.D.C. 2011) (quoting Whitehouse Hotel Ltd. P’ship v. Comm’r of Internal Revenue, 615



1
 As noted below at 4, this Court limited testimony concerning particular legislators’ subjective intent.
Texas Tr. at 7. No such testimony is offered here.
  Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 3 of 11




F.3d 321, 330 (5th Cir. 2010)); see also United States v. Hall, 969 F.2d 1102, 1109-10 (D.C. Cir.

1992) (upholding bench trial admission of expert testimony concerning defendant’s intent to

distribute narcotics); David E. Watson, P.C. v. United States, 668 F.3d 1008, 1015 (8th Cir.

2012) (“[W]e relax Daubert’s application for bench trials” because “‘[t]here is less need for the

gatekeeper to keep the gate when the gatekeeper is keeping the gate only for himself.’” (quoting

United States v. Brown, 415 F.3d 1257, 1269 (11th Cir. 2005) (second alternation in original)).

II.    COURTS ROUTINELY PERMIT EXPERT ANALYSIS OF THE PRESENCE OF
       A DISCRIMINATORY LEGISLATIVE PURPOSE.

       Courts in voting rights cases routinely admit expert testimony concerning legislative

purpose and the history of discrimination in voting. See, e.g., Hunt v. Cromartie, 526 U.S. 541,

547-48 (1999) (discussing intent evidence); United States v. Blaine Cnty., Mont., 363 F.3d 897,

912-913 (9th Cir. 2004) (discussing expert testimony on history of discrimination); Garza v.

Cnty. of Los Angeles, 918 F.2d 763, 767 n.1 (9th Cir. 1990) (crediting expert testimony

concerning intent); United States v. Brown, 494 F. Supp. 2d 440, 452 & n.13 (S.D. Miss. 2007)

(crediting purpose evidence offered by Dr. Arrington); Johnson v. DeSoto Cnty. Sch. Bd., 995 F.

Supp. 1440 (M.D. Fla. 1998) (discussing intent evidence); Bolden v. City of Mobile, Ala., 542 F.

Supp. 1050, 1075 (S.D. Ala. 1982) (same). Courts have also found that such experts satisfy the

requirements of Rule 702. See Bone Shirt v. Hazeltine, 336 F. Supp. 2d 976, 1005-06 1034

(D.S.D. 2004) (finding experts had the education, training, skill and knowledge to satisfy Rule

702 and Daubert).

       In the past year, this Court has twice denied motions to exclude the testimony of political

scientists concerning the purpose of statutes undergoing judicial preclearance under Section 5 of

the Voting Rights Act, including the testimony of Dr. Arrington. During recent litigation

concerning the State of Texas’s reapportionment plans, the three-judge panel specifically
  Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 4 of 11




rejected the State’s complaint that expert political scientists would “merely summarize easy to

understand documents such as e-mails [and the] legislative record.” Texas Tr. at 3. The Court

emphasized that the value of expert analysis lies in a political scientist’s ability to place this

information in the context of “demographics, registration records, voting patterns, alternative

[voting procedures] and the like.” Id.; see also Minute Order, Texas v. Holder, No. 1:12-cv-128

(D.D.C. July 3, 2012) (denying the State’s motion to exclude the testimony of Dr. J. Morgan

Kousser, a historian and political scientist who offered opinion testimony concerning the purpose

of Texas’s photographic voter identification statute).

        In permitting the expert testimony of political scientists concerning legislative purpose,

this Court has “somewhat limited” these experts only by restricting testimony concerning the

subjective intent of particular legislators. Texas Tr. at 7. The reason for this is clear: such

testimony lies outside the core purpose inquiry. See Order at 2-3, Texas v. Holder, No. 1:12-cv-

128 (D.D.C. May 21, 2012) (Ex. 2 at 3) (“Section 5 is ‘directed at’ … and ‘turns on’ … overall

legislative purpose and not the purpose or motivation of individual actors.”) (internal citations

omitted). Scrutinizing legislative purpose does not require “judicial psychoanalysis of a drafter’s

heart of hearts,” McCreary Cnty. v. ACLU of Ky., 545 U.S. 844, 862 (2005), and Dr. Arrington

expressly notes this constraint in his declaration:

        In determining intent of a legislature, one reviews the process that led to the
        adoption of the law and how it might be implemented with the use of depositions,
        newspapers, official minutes, and other records. The effect of the law is, of
        course, a critical piece of evidence. This scholarship indicates that one can only
        examine what individuals wrote, said, and did, not what they were thinking.

Arrington Decl. ¶ 14 (Ex. 3). As a result of this limitation, political scientists’ analysis of

legislative purpose is readily distinguishable from impermissible expert testimony concerning
    Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 5 of 11




individual criminal or fraudulent intent. See Pl.’s Br. at 3 (collecting cases).2

        A permissible inquiry into discriminatory purpose may “occasionally” touch on “the

subjective ‘intent,’ ‘motive,’ or ‘actual purpose’ of government actors.” Grossbaum v.

Indianapolis-Marion Cnty. Bldg. Auth., 100 F.3d 1287, 1292 & n.3 (7th Cir. 1996). However the

State’s claim that Dr. Arrington engages wholly or even substantially in considering the state of

mind of particular South Carolina legislators grossly mischaracterizes his clear testimony. See,

e.g., Arrington Rep. ¶ 4 (ultimately concluding “that the photo ID law was enacted with a

purpose of reducing the ability of Minority citizens to vote”). For example, Dr. Arrington’s

explanation of the legislators’ knowledge simply sets out information that had been presented

directly to them. See id. ¶ 39. On the other hand, his statement concerning a particular

legislator’s lack of knowledge is drawn from that legislator’s sworn deposition testimony, which

Dr. Arrington places into vital context. See id. ¶ 82.3 The State’s complaints ignore the far

larger focus of Dr. Arrington’s testimony on the ability of identification requirements to suppress

voting, the foreseeability of a retrogressive impact on minority voters, the persistence of racial

bloc voting in South Carolina, the likelihood that the State will be unable to mitigate these


2
  See also In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 536-37 (S.D.N.Y. 2004) (subjective
intent of pharmaceutical executives); SEC v. Johnson, 525 F. Supp. 2d 70, 78-79 (D.D.C. 2007) (intent to
defraud); Lippe v. Bairnco Corp., 288 B.R. 678, 688-89 (S.D.N.Y. 2003) (intent to engage in a fraudulent
conveyance); Highland Capital Mgmt. v. Schneider, 379 F. Supp.2d 461, 469 (S.D.N.Y. 2005)
(speculation concerning knowledge contemporaneous to a breach of contract).
3
  Some other instances of what the State contends are impermissible testimony, see Pl.’s Br. at 4, recount
facts external to the legislative process that are established in the political science literature and by Dr.
Arrington’s experience as an election administrator. For instance, the State takes issue with Dr.
Arrington’s statement, “Anyone who has been involved in the administration of elections understands that
there are no perfect elections. Clerical errors, human errors throughout the process from the poll
managers to the canvassing board, bad ballot design, and machine errors far exceed any imagined votes
changed by impersonation at the polls.” Arrington Rep. ¶ 94. Not only does Dr. Arrington rely on
expertise gleaned from a decade of service on the Charlotte/Mecklenburg Board of Elections, see id. ¶ 7,
he also specifically cites to a recently released monograph by Martha Kropf and David C. Kimball,
professors of political science at the University of North Carolina and the University of Missouri, see id. ¶
94.
  Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 6 of 11




effects prior to the November 2012 federal election and beyond, and the plausibility of the

publicly articulated rationale for the photo ID bill. See id. ¶¶ 25-108.

III.   EXPERT ANALYSIS OF LEGISLATIVE PURPOSE IS HIGHLY RELEVANT
       FACTUAL EVIDENCE.

       It is well-settled that expert witnesses may provide opinion testimony about any relevant

factual issue in a case, including outcome-determinative factual disputes. See Fed. R. Evid.

704(a) (“An opinion is not objectionable just because it embraces an ultimate issue.”); see also

Fed. R. Evid. 704 Advisory Comm. Note (1972) (“[T]he so-called ‘ultimate issue’ rule is

specifically abolished by the instant rule.”); SEC v. Johnson, 525 F. Supp. 2d 70, 78 & n.8

(D.D.C. 2007) (“Although [a] particular factual conclusion is associated with one of the more

significant factual disputes between the parties, that does not make it off limits for expert

opinion.”). As the D.C. Circuit has explained, “an expert may offer his opinion as to facts that, if

found, would support a conclusion that the legal standard at issue was satisfied” so long as the

expert does not testify “as to whether the legal standard has been satisfied.” Burkhart v.

Washington Metro. Area Transit Auth., 112 F.3d 1207, 1213-14 (D.C. Cir. 1997).

       Dr. Arrington’s testimony will assist the Court in resolving a highly relevant and

unusually complex factual question—the purpose of South Carolina’s photographic voter

identification statute—without impinging on this Court’s role to reach conclusions of law. As

explained above, Dr. Arrington’s declaration examines the evidence in the legislative record,

media, and other non-confidential sources to determine whether there is evidence that the

legislature intended to disenfranchise minority voters who do not possess one of the listed forms

of photo identification. While Dr. Arrington’s declaration concludes that evidence exists that the

legislature intended to discriminate against minority voters in this way, it avoids drawing

conclusions as to the legal implications of these findings.
  Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 7 of 11




         Two examples of Dr. Arrington’s factual analysis and conclusions clarify that his

opinions do not prescribe the legal determinations that are the sole province of this Court. With

regard to the legislative debate, Dr. Arrington wrote:

         The speeches in favor of the bill are captured in the remarks of Senator George
         Campsen (a White Republican) in the Journal for 24 February 2012. The
         arguments are precisely the reverse of those offered by the opponents. There are
         several things to notice in the arguments for the bill. The argument is that having
         a photo ID is so accepted in the general population that it would not be a
         substantial burden on anyone, despite the known fact (from the Andino report)
         that perhaps 178,000 South Carolina voters did not have a photo ID. Nor is there
         any attempt to deny that the burden—whatever it might be—weighs more heavily
         on Minority voters than on Whites as the Andino report demonstrated. Other
         provisions in the bill supporters claim to mitigate whatever burden there may be.
         The emphasis is on the importance of preventing fraud. The cases cited, however,
         tend to be largely irrelevant to the incidence and prevention of voter
         impersonation fraud in South Carolina. The cited events come mostly from other
         states, and the few South Carolina cases didn’t involve impersonation fraud.
         Indeed, the proponents of the photo ID bill could not deny the assertion of the
         photo ID bill’s opponents that there were no established cases of impersonation
         vote fraud in the state. The General Assembly legislated on a nonexistent
         problem, while ignoring the consequences of requiring a photo ID on the political
         participation of Minority voters.

Arrington Decl. ¶ 45 (internal citations omitted). Similarly, with regard to historical parallels to

the burden that an identification requirement would impose on minority voters, Dr. Arrington

wrote:

         The requirement to go downtown to get a photo ID is the practical equivalent of
         requirements for reregistration that have been objected to by the U.S. Attorney
         General and were of concern to the Congress. A report of the United States
         Commission on Civil Rights to the Congress in January 1975 titled “The Voting
         Rights Act: Ten Years After” stated that a requirement for reregistration “. . .
         places a substantial burden on the Minority voter, who has often succeed in
         registering only after overcoming many obstacles. The result of a reregistration
         can be a decline in the number of Minorities who are registered.” The report goes
         on to cite a specific example in Arizona in 1970, and is critical of the Department
         of Justice for sometimes not objecting to reregistration in Mississippi. A basic
         source on this subject is “The Shameful Blight: The Survival of Racial
         Discrimination in Voting in the South,” by the Washington Research Project,
         1972, which provides a list of Mississippi counties’ use of the reregistration
         strategy and the Justice Department’s response.
  Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 8 of 11




Id. ¶ 69 (internal citations omitted). The State suggests that portions of Dr. Arrington’s

declaration are “precisely” the same as the “bare legal conclusions” rejected by other courts.

Pl.’s Br. at 6. However the cited pages actually contain Dr. Arrington’s explanation of the

categories of evidence typically used to determine legislative purpose, see id. ¶¶ 11, 57,

discussion of the legislative process that led to the passage of South Carolina’s photographic

voter identification bill, see id. ¶¶ 37-56, descriptions of factual findings from prior Voting

Rights Act cases in South Carolina, see id. ¶¶ 58-60, 75, 84, and provision of concluding opinion

testimony based on his analysis of these facts, see id. ¶¶ 103-108. These discussions provide

only factual evidence—albeit evidence highly probative of core legal questions in this case.

IV.    QUALITATIVE POLITICAL SCIENCE REPRESENTS SPECIALIZED
       KNOWLEDGE AND RELIABLE PRINCIPLES THAT WILL AID THE COURT.

       The State’s final complaint takes as its premise that Dr. Arrington’s decades as a scholar

of political science and service as an election administrator confer neither expertise nor

methodology. Expert testimony is reliable if it employs scientifically valid reasoning or

methodology that is properly applied to the facts of the case. Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579, 592-93 (1993). The Court’s reliability inquiry should be “flexible” and must

focus “solely on principles and methodology, not on the conclusions that they generate.” Id. at

594-95. Far from merely characterizing documentary evidence, see Pl.’s Br. at 5, “repeating

hearsay evidence without applying any expertise whatsoever,” Pl.’s Br. at 9 (quoting United

States v. Mejia, 545 F.3d 179, 197 (2d Cir. 2008)), or “merely summarize[ing] a hodgepodge of

materials,” Pl.’s Br. at 10, Dr. Arrington’s testimony provides the Court with a sophisticated

assessment of the voter identification law based on the context in which it was drafted, and its

known or foreseeable consequences.

       As a general matter, analysis of legislative purpose “takes account of the traditional
  Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 9 of 11




external signs that show up in the text, legislative history, and implementation of the statute.”

McCreary Cnty., 545 U.S. at 862. However the analysis need not be limited to tools taught in

law schools; the skills of trained historians and political scientists may bring a distinct and

reliable methodology to the analysis of legislative purpose. See, e.g., Garza v. Cnty. of Los

Angeles, 756 F. Supp. 1298, 1309 (C.D. Cal. 1990), aff’d, 918 F.2d 763 (9th Cir. 1990); Hunter

v. Underwood, 471 U.S. 222, 228-29 (1985); see also Brown v. Entm’t Merchants Ass’n, 131 S.

Ct. 2729, 2769 (2011) (Breyer, J., dissenting) (noting that most judges lack “social science

expertise”); Major v. Treen, 700 F. Supp. 1422, 1437 (E.D. La. 1988) (distinguishing “talents as

an attorney” from “talents as a political scientist” in Voting Rights Act litigation). Nor must all

reliable methodologies rest on mathematical formulae. See, e.g., United States v. James, 737 F.

Supp. 2d 1, 6 (D.D.C. 2010) (permitting expert testimony that certain physical evidence was

consistent with prohibited intent); United States v. Gonzalez, 608 F.3d 1001, 1005 (7th Cir.

2010) (finding “sufficient expert evidence, albeit qualitative rather than quantitative”).

       The State’s claim that Dr. Arrington’s testimony should be excluded on the basis that this

Court “does not need expert assistance to review” the materials he considered has already been

squarely rejected by the D.C. Circuit:

       The perceived danger of indiscriminate admission of expert testimony is that
       because of its aura of special reliability and trust it can unduly bias the factfinder.
       But if, as appellant asserts, the court was already an “expert” on [the subject of
       the expert’s testimony], then it is highly unlikely that it would have been swayed
       by the “aura” of the expert’s testimony.

Hall, 969 F.2d at 1110 (internal citations omitted). The reliability of Dr. Arrington’s basic

application of political science is once again best demonstrated through a few examples. First,

Dr. Arrington ably sets out the socioeconomic disparities between white and black communities

in South Carolina, as well as the effects of such disparities on political participation, as
    Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 10 of 11




established in the political science literature. See Arrington Decl. ¶¶ 30-31. He then explains the

likelihood that experienced politicians would understand such effects and the implications for

minority political participation. See id. ¶ 39. Second, Dr. Arrington also converts the real-world

probabilities of voter impersonation and the detection of such fraud into an algebraic formula—a

common technique in political science—to clarify and discredit the legislature’s pretextual

public motivations.

        Impersonation vote fraud can be put in formula terms like the calculus of voting
        presented above: PF > One-Vote. The impersonator has a chance (P) of being
        caught committing felony (F). If he or she succeeds in the impersonation the
        preferred candidate or party gains one vote. The chance of one vote deciding any
        election is virtually nil. While it is true that without photo ID, the probability of
        detection (P) is also low, the incentive to commit this crime still cannot match the
        possible cost. In other words, we would logically expect this particular kind of
        vote fraud to be extremely rare, unless part of an organized effort that would
        surely be detected unless it involved corrupt election officials.

Arrington Decl. ¶ 88. Lawyers may comprehend such analysis, but political scientists such as

Dr. Arrington are in the best position to introduce such expert testimony to this Court.4

V.      CONCLUSION.

        For the reasons above, the Court should deny South Carolina’s motion to exclude Dr.

Arrington’s testimony.

Date: August 20, 2012

                                                         Respectfully submitted,

RONALD C. MACHEN, JR.                                    THOMAS E. PEREZ
United States Attorney                                   Assistant Attorney General
District of Columbia                                     Civil Rights Division

                                                         /s/ Bradley E. Heard



4
  This Court recently relied in part on Dr. Arrington’s testimony before Congress in an opinion upholding
the constitutionality of Section 5 of the Voting Rights Act. Shelby County, Ala. v. Holder, 811 F. Supp.2d
424, 465 (D.D.C. 2011), aff’d, 679 F.3d 848 (D.C. Cir. 2012), petition for cert. filed (July 20, 2012).
Case 1:12-cv-00203-CKK-BMK-JDB Document 207 Filed 08/20/12 Page 11 of 11




                                      T. Christian Herren, Jr.
                                      Richard Dellheim
                                      Bradley E. Heard (D.C. Bar No. 458309)
                                      Catherine Meza
                                      Jared M. Slade
                                      Anna M. Baldwin (D.C. Bar No. 998713)
                                      Erin M. Velandy
                                      Attorneys
                                      Voting Section, Civil Rights Division
                                      U.S. Department of Justice
                                      950 Pennsylvania Ave. NW
                                      Washington, DC 90530
                                      (202) 305-4196
                                      bradley.heard@usdoj.gov
